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UCT 15 2018

UNITED sTATEs DlsTRlCT cOURT
wEsTERN DISTRICT 0F OKLAHOMA U_S_ D,ST :EUET_WESTERN D\ST_ QKLA_

 

CARTER PAGE,
Plaintiff,

V.

DEMOCRATIC NATIONAL
COMMITTEE; PERKINS COIE LLP;
MARC ELIAS', AND MICHAEL
SUSSMANN,

Defendants.

 

 

CARMEL|TA REEDER SH|NN. CLERK
BY .DEPUTY

Civil Action No.:

JURY 'I`RIAL DEMANDED

C°MPUI v as was
False rumors - Libel, Slander and False Rumors

(Oklahoma Statutes, Title 21 §§ 77l-781)

Anti-Terrorism Act (18 U.S. Code §§ 2331-2333)

Prohibitions against the financing of terrorism (18
U.S. Code § 2339C)

Tortious Interference (Restatement (Second) of Torts
§ 766A', Oklahoma Statute, Title 23 § 9.1)

RICO (13 U.s.C. § 1962(¢))

RICO Conspiracy (18 U.S.C. § 1962(d))

Carter Page

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Plaintiff, Carter Page (“Dr. Page”), for his Complaint against Defendants
Democratic National Committee (“DNC”), Perkins Coie LLP (“Perl<ins Coie”), Marc

Elias (“Mr. Elias”) and Michael Sussmann (“Mr. Sussmann”) alleges the following:

|. INTRODUCTORY STATEMENT

l. Dr. Page brings this action to hold the DNC, Perkins Coie, Mr. Elias and
Mr. Sussmann (together, the “Defendants”), accountable for defaming him by funding
and distributing to the media an extensive series of Statements about him that they knew
to be false. Specifically, between approximately June 2016 through at least September
2016, the Defendants and their consultants each provided to multiple media organizations
and U.S. Government institutions damaging, life~threatening documents or verbal
allegations regarding‘Dr. Page that were entirely false.

2. The slanderous statements made and libelous documents provided by the
DNC, Perkins Coie, their employees including Mr. Elias and Mr. Sussmann, and their
consultants led to many false and malicious unprivileged publications by writing,
printing, or other fixed representation to the eye. These offenses directly exposed Dr.
Page to public hatred, contempt, ridicule and obloquy, which severely deprived him of
public confidence, and injured him severely in all ofhis occupations, and tended to

scandalize both his colleagues and friends.

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3. On Septcmber 23, 2016, Yahoo News published an article filled With false
allegations from the Det`endants and their consultants, entitled: "‘U.S. intel officials probe
ties between Trump adviser and Kremlin"' (the “Yahoo Report”). T his defamatory
report stemmed directly from false information provided and funded by the Defendants
and their consultants The Yahoo Report included an extensive array of completely false,
misrepresented and/or unverified information compiled at the request of the Defendants
by ()rbis Busincss lntelligence Ltd., a private company in London, U.K. (“Orbis”). The
Yahoo Report made various allegations concerning, among other things, meetings
between Dr. Page and two sanctioned Russian officials

4. On information and belief, Bean LLC is a Delaware corporation that
conducts business under the name Fusion GPS (“Fusion”). Fusion hired a private
investigator~a former British citizen named Christopher Steele, who operated through
Orbis. Fusion was funded by the Defendants and the political campaign they were
supporting to conduct this opposition research on their behalf2

5. Dr. Page has never met With either of the individuals alleged by the
Defendants and their consultants at any point in his life, Rosneft Oil Company
(“Rosneft”) ChiefExecutive Ofticer (“CEO”) l\/Ir. Igor Sechin (“Mr. Sechin”) and Mr.

Igor Diveyl<in (“l\/lr. Diveykin”).

 

1 Michael lsikoff, "‘U.S. intel officials probe ties between 'l`rump adviser and Kremlin,” Yahoo

News, September 23, 20]6. [https://www.vahoo.com/news/u-s-inte|-officials-probe-ties-
between-tmmp-adviser-and-krern lin~l 75046002.htm l]

2 Revealed as part of the proceedings ofBecm LLC d/b/c: Fiisi'on GPS v. De_fémiam chk and
Per'mcmem Selet'l Comrnil!ee on fmc/ligence, \7»CV-02187 (D.D.C., Oct. 20, 2017).

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6. Although the Defendants and their paid consultants specifically knew that
at least portions of the information they provided to the media were untrue,
misrepresented and/or unverified, they distributed the allegations extensively to many
members of the media. This defamatory and completely unverified information included
allegations that falsely accused Dr. Page of participating in an alleged conspiracy to
commit crimes against the U.S. Democratic Party’s Leadership. The Defendants also
funded and helped distribute misinformation accusing the Plaintiff of a malicious
conspiracy theory, attributing to him blame for allegedly undermining American
democracy and the 2016 U.S. election With respect to Dr. Page, these allegations were

wholly and completely false.

||. PARTIES

7. Plaintiff Carter Page, Ph.D. (“Dr. Page”) is an individual who currently
maintains no permanent residence or domicile anywhere due to the terror threats that
have resulted from the misinformation disinformation distributed by the Defendants and
their associates in 2016. Dr. Page is the Managing Partner of Global Natural Gas
Ventures LLC (“GNVG”), an Oklahoma Corporation with principal offices in Oklahoma
City. He is also the Managing Partner of Global Energy Capital LLC (“GEC”), a New
York Corporation with principal offices in New York City and a scholar in foreign
policy. GNGV and GEC are investment management and advisory firms focused on the

energy sector primarily in emerging markets

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8. Del"endant DNC, registered with the F ederal Election Comniission as DNC
Services Corp./Dem_ Nat’l Committee. is a national committee as that term is defined by
and used in 52 U.S.C. § 30101, dedicated to electing local, state, and national candidates
- including presidential candidates - of the Democratic Party to public office. To
accomplish its mission, the DNC, among other tliings, works closely with Democratic
public officials and assists state parties and candidates by contributing inoney, making
expenditures on their behalves, and providing active support through the development of
programs benefiting Democratic candidates

9. Perkins Coie LLP is a Washington Limited Liability Partnership with
offices worldwide. Perkins Coie represented Defendant DNC With respect to the 2016
elections

10. Def`endant Marc Elias, on information and belief, is chair o'f`Defendant
“Perkins Coie’s Political Law Gi'oup".10

l l. Defendant Michael Sussmann, on information and belief, is a “Partnei"’ at
Defendant Perkins Coie and “a nationally-recognized privacy, cybersecurity and national
security lawyer. He is engaged on some of the most sophisticated, high-stakes matters
today, such as his representation of the Democratic National Committee and Hillary
Clinton’s presidential campaign in their responses to Russian backing in the 2016

presidential eiection.""

 

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https:i’/www.perkinscoie,coin/en/prof`essionals/marc-e-el ias.html
httit)s://www.perkinscoie.com/en/professionals/marc-e-elias.html

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12. On information and belief, both Mr. Elias and Mr. Sussmann conduct their
business for Perkins Coie from an office in Washington, D.C., where their business has
included activities directly related to the defamation and death threats suffered by Dr.
Page since at least September 2016. On information and belief, they were principal actors
involved in organizing the opposition research consultants for Defendant Perkins Coie’s
client, the Defendant DNC. Both l\/Ir. Elias and his partner Mr. Sussmann used their prior
experience as, respectively, a political lawyer and an operative in the U.S. Department of
Justice covering Russian matters, to give their “oppo research” activities a gloss of
credibility and reliability which, in this case, was unwarranted Allegedly, none of the
Defendants has ever publicly stated that their “oppo research” activities were halfilled in
a fashion that accords with standards observed in the legal or media professions for
_ establishing the credibility of sources and for verifying information provided by the
sources. To the contrary, one of the subcontractors that they organized hiring and hosted
at Defendant Perkins Coie’s office in Washington, Mr. Christopher Steele has testified
publicly in a U.K. court filing that he did not abide by such standards in compiling

Defendant DNC’s “oppo research”.12

|||. JURISDICTION, VENUE, AND CONDITIONS PRECEDENT

 

'2 “DEFENDANTS’ RESPONSE TO CLAIMANTS’ REQUEST FOR FURTHER
INFORMATION PURSUANT TO CPR PART 18,” Aleksej Gubarev and Others v. Orbis
Business Intelligence Limited and Another, High Court of.lustice, Queen’s Bench Division,
Claim No. l-IQ17D00413, 18 May 2017.

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13. This Court has jurisdiction, pursuant to 28 U.S.C. § 1332(a)(1) over all
claims alleged herein as the matter in controversy in the causes of action asserted herein
is between citizens of different States and exceeds 875,000 in damages

14. This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331.

15. This court has jurisdiction over Dr. Page in accordance with 28 U.S.C. §
1332. In the time period following the 2016 malicious attacks incited by false
information funded and distributed by the Defendants, Dr. Page was an individual who
changed his location frequently as a protective defense to minimize the risk of repeated
threats against his life meeting the definition of Doniestic 'l`errorisrn [18 U.S. Code
§2331(5)] which first began in the wake of defamatory new articles Dr. Page has
remained Managing Partner of Oklahoma Limited Liability Company Global Natui‘al Gas
Ventures LLC since 2013. But as one of the aftermaths of the death threats that the
Defendants helped to incite, Dr. Page currently maintains no permanent residence
anywhere due to personal safety concerns

]6. 'f he allegations distributed by the Defendants have been unquestionably
and significantly disproven. Siibcontractor to Mr. Steele and associated parties that
distributed and repeated the false allegations thus fall entirely outside of any privilege as
defined in Oklahoma Statutes, Title 21 §§ 7'"/'1-781. On October 24, 2017, the

Wcishi'ngton POSt published a privilege letter26 from Defendant Perkins Coie

 

26 https://assets.documentcloud.org/documents/4l l6755/PerkinsCoie-Fusion-PrivelegeLetter-

102417.pdf`

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acknowledging their and Defendant DNC’s direct involvement in this defamatory
misinformation campaign. (Attached as Exhibit ..)

17. Given related revelations that have continued to flow as the truth belatedly
comes out, DNC, Perkins Coie and their subcontractor l\/Ir. Steele have been entirely
discredited as the “well-placed Western intelligence source” that he was consistently

misrepresented to be by the Defendants.Z?

|V. GENERAL ALLEGATIONS
18. On Septenibei' 23, 2016, Yahoo published the malicious Yahoo Report

based on opposition political research marketed by the Defendants that subsequently led
to an escalating and sustained series ol`death threats aimed at Dr. Page, Nearly two
months eai'licr, on lilly 26, 2016, Dr. Page received the following text messages from a
reporter at the Wa[l Str'eei‘ Jotiriml. This communication first gave Dr. Page advanced
warning ot`the potentially deadly falsehoods which the Defendants as well as their
business and political associates were unsuccessfully attempting to spread throughout the

news industry via loyal media outlets:

 

27 Adam Entous, Dev|in BarretL and Rosalind l-lelderman, “Clinton campaign, DNC paid for

research that led to Russia dossier,” Wcishingioii Posl, October 24, 2017.
littps://www.washingtonpost.com/world/national-securitv/clinton-campaign-d nc-paid-for-
research-that-led-to-riissia-dossier/2017/10/24/226fabf0-b8e4-l le7-a908-

33470754bbb9 storv.html

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0 “We are told you met with Igor Sechin during your recent Moscow trip and
discussed energy deals and the possibility of` the U.S. Government of lifting
sanctions on him and others.”

0 “We are also told you recently met with a senior Kremlin official - Divyekin -
and he said they have solid kompromat on Clinton as well as Trump.”

0 “Guidance? Thoughts?”

19. Seeking to preserve his privacy as a private person, Dr. Page informed the
reporter via text message: “It's such a ridiculous idea that it almost Warrants a double-no-
comment.” As a private person until September 2016, who sought to maintain his
isolation from the media by avoiding interviews With or statements to the press, Dr. Page
frequently repeated “no comment” when these same false allegations originating from
consultants and associates of the Defendants Were repeatedly asked by reporters over the
course of the next approximately 2 months until the Yahoo Report was published The
harassing requests from news agencies and journalists to verify these outrageously
inconceivable accusations from the Defendants persisted from reporters associated with a
diverse array of media outlets throughout this interim period.

20. The Yahoo Report focused on two primary false allegations that originated
from the Defendants and their consultants regarding meetings which Dr. Page never
participated in, involving individuals he has never communicated with at any point
throughout his life. The first related to Mr. Sechin:

“. . .U.S. officials have since received intelligence reports that during that

same three-day trip, Page met with Igor Sechin, a longtime Putin associate

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and former Russian deputy prime minister who is now the executive
chairman of Rosneft, Russian’s leading oil company, a well-placed Westem
intelligence source tells Yahoo News. That meeting, if confirmed, is
viewed as especially problematic by U.S. officials because the Treasury
Department in August 2014 named Sechin to a list of Russian officials and
businessmen sanctioned over Russia’s “illegitimate and unlawful actions in
the Ukraine.” (The Treasury announcement described Sechin as “utterly
loyal to Vladimir Putin _ a key component to his current standing.” At
their alleged meeting, Sechin raised the issue of the lifting of sanctions with

Page, the Western intelligence source said.”

21. The second alleged meeting related to Mr. Diveykin falsely accused Dr.

Page as the leading American suspect with respect to his possible collaboration with
those Russian officials allegedly bearing, “Responsibility for intelligence collected by
Russian agencies about the U.S. election”:

“U.S. intelligence agencies have also received reports that Page met with

another top Putin aide while in Moscow _ Igor Diveykin. A former

Russian security official, Diveykin now serves as deputy chief for internal

policy and is believed by U.S. officials to have responsibility for

intelligence collected by Russian agencies about the U.S. election, the

Westem intelligence source said.”

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22. With the 2016 Yahoo Report and based on the false information that
originated with the Defendants, Yahoo and other media outlets thus falsely implied Dr.
Page’s potential direct blame for one of the most prominent world news stories and
controversial alleged transnational crimes of 2016 and 2017:

“The questions about Page come amid mounting concerns within the U.S.
intelligence community about Russian cyberattacks on the Democratic
National Committee and state election databases in Arizona and Illinois. In
a rare public talk this week, former undersecretary of` defense for
intelligence Mike Vickers said that the Russian cyberattacks constituted
meddling in the U.S. election and were ‘beyond the pale.’ Also, this week,
two senior Democrats _ Sen. Dianne Feinstein, ranking minority member
on the Senate Intelligence Committee, and Rep. Adam Schiff, ranking
minority member on the House Intelligence Committee - released a joint
statement that went further then what U.S. officials had publicly said about

the matter.”

A. Immediate Aftermath of False Reports and Proliferation of Harms to Dr. Page
23. Following these and other extensive reports throughout the weekend in the
immediate aftermath of the Yahoo Report that the Defendants had enabled, Dr. Page
Wrote a letter to Director of the Federal Bureau of Investigation J ames Comey on the
evening of Sunday, September 25, 2016. This represented a first initial effort to set the

l record straight regarding these malevolent defamatory falsehoods that originated from the

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Defendants Prior to the revelation of the illegitimate source of the libelous information
that had recently been distributed worldwide by the Defendants and their consultants in
September 2016, the FBI Letter accurately assessed as a complete waste of time any
inquiry of these sensationalist stories about Dr. Page and how any resultant Federal
investigations these falsehoods might inspire represented nothing more than a witch hunt.
(the “Witch Hunt”)

24. Peter Stef`lox, who previously served as the Head of Investigative Practice
at the National Policing lmprovement Agency in the U.K., has explained how synergistic
relationships between media outlets and government law enforcement authorities may use
public relations tactics to intersect with the agenda of legitimate criminal investigations
This analysis helps illustrate other elements of the impact created by the defamatory
allegations overseen and enabled by the Defendants, amidst the mass hysteria that the
Witch Hunt subsequently created for Dr. Page and other individuals he had been

associated with:

“Most media outlets - newspapers, radio and television - are primarily
interested in acquiring material to provide interesting stories. Crime is
high on their list of interesting stories and so they are always willing to
cover it. This provides investigators with an opportunity to publicise
crimes and appeal for witnesses . .Major crime investigations and high-
projile incidents always attract media interest and investigators are

usually able to deploy specialist resources from th eir force media

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department in these cases. Trained stajj‘ are able to advise on a media
strategy that maximizes the chance of the crime being reported in ways
that support the investigation This often includes strategies for keeping

the story in the news even when interest in it is waning.”38

25. The public controversy that the Defendants originated worldwide regarding
false allegations about Dr. Page’s participation in Russia’s alleged involvement in cyber
operations related to the 2016 election did not exist before the publication of the Yahoo
Report based on the defamatory information spread by the Defendants and their
l consultants The outcome of this prominent fabricated controversy had a monumental
direct impact on not only Dr. Page, but individuals beyond those directly involved in the
dispute. These individuals impacted by this malicious defamation included Mr. Donald J.
Trump and other supporters of his 2016 campaign, including peripheral ones such as Dr.
Page (collectively, the “Trump Movement”).

26. With the exception of volunteering as an unpaid, informal member of a
foreign policy advisory committee to the Donald J. Trump for President campaign, Dr.

, Page has never in anyway been, nor aspired to become, a politician and was not a public
figure prior to the defamatory articles published by the Defendants Gutside of narrow

academic foreign policy circles and energy finance circles, he was not known at all. A

 

38 Peter Stelf`ox, Crim inal Investigati'on: Ari Introduction to Principles and Practi'ce,

Routledge, 2013, 110-l l l.

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largely unknown figure, his Wikipedia page was first created within hours of the fictional
Yahoo Ar‘ticle.40

27. As publisher of these falsehoods distributed by the Defendants their
associates and hired consultants were so inherently improbable that only a reckless man
and/or media organization would have put them in circulation Likewise, further
recklessness may be found given the inherently obvious reasons to doubt the veracity of
the informants including the private investigator l\/lr. Steele and the DNC consultants
which Perkins Coie had hired to support this illicit operation, given the severe inaccuracy
of these reports

28. Consistent with these acknowledged methodologies ol`sinearing innocents
through the deployment ofprivate investors and spin doctors whose primary purpose was
to sinash and destroy those that the DNC and their political associates perceived as a
threat, the Defendants created a substantial risk of serious bodily injury to Dr. Page by
attempting or conspiring to destroy or damage Dr. l’age’s personal property within the
United States, including but not limited to Dr. Page’s reputation and relationships

29. Part of the extensive relevant evidence discovered in other court
proceedings includes a May 18, 2017 statement from Mr. Steele’s legal representative to
the l~ligh Court of`Justice Queen’s Bench Division in the U.K. dated that allege the
following: “Thejournalists initially briefed at the end of`Septembei‘ 2016 by the Second

Defendant (Steele) and litision at Fusion’s instruction were from the New York Times,

 

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https ://en.wikinedia.org/w/index.php?title=Carter Page&d iff=797 l 55868&0|did=74093 7003

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the Washington Post, Yahoo News, the New Yorker and CNN”.$' The Defendants, their
political associates and their consultants played key roles in spreading this false
information to the media about the Plaintif`f. Accor'ding to initial allegations by the
former FBI General Counsel l ames Baker subsequently made public through U.S.
Congressional testimony on October 3, 201852, Defendant Perkins Coie allegedly
provided additional false information to the 13131.53

30. Dr. Page frequently experienced life-threatening damages following
publication of the Yahoo Report which stemmed from the false information compiled,
distributed, and funded by the Defendants. As just one example of the countless physical
threats including death threats that followed the malicious defamatory reports that
stemmed from information first distributed to the United States and to the world by the
Defendants and their associates Dr. Page received the following voicemail based on the
Defendants’ groundless allegations regarding alleged meetings with the CEO ofRosneft
and another Russian citizen that Dr. Page has never met at any point in his life
(approximate transcript below; confidential audio version of this recording is available

for the Court upon request):

 

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http :/lwww.mcclatchvdc.com/news/nation-worldlnational/articlel 60622854.html

Catlierine l'lcri‘idge` “Top FBI lawyer Baker offers 'explosive' testimony on 'abnormal'
handling of Russia probe into Trump campaign: lawmakei’s,” Fox News, October 3, 2018.
httr.)s://www.foxnews.com/politics/ton-fbi-lawyer-baker-offers-explosive-testimony-on-
abnormal-handling-of-russia~probe~into-trumo-camoaign-lawmakers

53 lohn So|oinon, “Collusion bombshell: DNC lawyers met with FBl on Russia allegations
before surveillance warrant,” The Hi'll, October 3, 2018. https://thehil|.com/hi|ltv/rising/409817-
russia-colltision-bombshell-dnc-lawyers-met-with-tbi-on-dossier‘bef`ore

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“Yo, what’s up man? Sounds like things are going pretty fucking good for
you. Go to trade out your fucking country l"or some fucking Russian
dollars. We know what the fuck you’ve been doing, you piece of shit
mother fucker. You thinkyou’re not, you know you’re not in fucking in
cahoots with fucking Rosneft and every fucking Russian oligarch over
there‘? You fucking hal't`-wit, fucking piece of shit. You deserve everything
you fucking get. Every fucking thing you get. Ifit was up to me, after we
fucking tried you for treason, we ’d take you out in the street and beat the
fucking piss out of you with baseball bats, you cook sackng mother
fucker. Next time you turn your back on your fucking country, you’ll
fucking regret it.”

[Eniphasis added.]

B. BuzzFeed’s Release of the Full Dodgv I)ossier

31. On January 10, 2017, BuzzFeed lnc. (“BuzzFeed”) published an online
article entitled, “'[`hese Reports Allege Trump Has Deep Ties To Russia”(’l (the
“BuzzFeed Article”). 'fhis included a previously-undisclosed dossier (the L‘Dodgy
Dossier”) which repeated many of the primary false allegations from the Yahoo Report

that had targeted Dr. Page as the principal falsely-accused suspect more than 100 days

 

6' htt s://www.buzzfeed.corn/kenbensin er)’these-re orts-alle’e-trum »has-dee -ties-to-

russia?utm tenn=.aqlNzE7OG#-.maval'~lL3d

   

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earlier and led to repeated media attacks in the intervening period. The Dodgy Dossier
included various allegations concerning, among other things, the false allegations
originating from the Defendants and their hired consultants regarding alleged meetings in
2016 between Dr. Page and sanctioned Russian officials which never actually occurred

32. fThe subsequent revelation of extensive evidence by the U.S. Congress, U.S.
` Courts and international courts since 2017 proving these facts has made clear the primary
source of these false allegations were the direct responsibility of the Defendants, their
political associates and their consultants

33. With respect to the Plaintifl`_, the Dodgy Dossier included extensive
assertions of fact. Not a single portion ol` these statements (as it applies to Dr. Page) has
any basis in fact whatsoever.62 Although BuzzFeed’s decision to publish the unverified
dossier flew in the face ol"journalistic standards and ethics, the reckless and wanton

abuses by the Defendants in 2016 were significantly more egregious and malicious as

they specifically decided to target Dr. Page as the primary accused party.

34. BuzzFeed’s Editor-in-Chiefl\/[r. Ben Smith (“Mr. Smith”) has admitted he
knew at the time that it published the BuzzFeed Article and the Dodgy Dossier that there
were “real solid reasons to distrust” the veracity of the allegations contained therein. On
information and belie'f` no such admissions have been made by the Defendants or any of

their representatives to this date.

 

62 https://assets.documentcloud.org/documents/SZS9984/'1`rumo~lntelligence-Allegations.pdf

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35. In addition, Mr. Smith published an Op-Ed in the New York Tt`mes and
appeared in numerous television and radio interviews defending his decision to publish
the BuzzFeed Article and the Dodgy Dossier. ln his New York Tr`mes Op-Ed63, Mr. Smith
n stated that BuzzFeed decided to publish the Dodgy Dossier "only after we had spent
weeks with reporters in the United States and Europe trying to confirm or disprove
specific claims.” On information and beliel`, no such efforts were made by the Defendants
prior to or after their wanton and reckless personal attacks as they originated and helped
to spread false information regarding Dr. Page.

36. Similarly, Mr. Smith stated on CNN’s Reliable Sources that BuzzFeecl was
“running it down every way we eould” and told MSNBC’s Meet the Press Daily that "‘we,
like many other organizations had had [the Dodgy Dossierl for Weeks. We had reporters
in Europe and the United States trying to stand up or knock down specific details.” No
such steps were taken by the Del`endants, prior to publication of the Yahoo Report which
their consultants had instigated on their behalf.

37. Dr. Page was never given any advanced warning that these extremely
malicious and destructive falsehoods would be published on September 23, 2016 in
support of the DNC and the political candidates they supported at the time. Dr. Page had
consistently tried to avoid media exposure prior to the initial publication of the Yahoo

Report to the greatest extent possible in an attempt to protect his privacy and avoid any

 

63 littns://www.nvtimes.com/ZOl 7/0 l /23/opin ion/whv-buzzfeed-news-nublis hed-the~

doss ier.html

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actions which would inadvertently thrust himself to the forefront of the national debate
regarding the alleged cyberattacks or any other public controversy.

38. Although BuzzFeed displayed a far higher level of professionalism than the
Defendants in the civil action, an array of closely related Dodgy Dossiei'66 cases have
been subsequently filed since 20 l 7 including in many U.S. District Courts as well as
other jurisdictions (the L‘Dodgy Dossier Cases”).67 Albeit related to less egregious torts
than those committed by the Defendants in this civil action, these other comparable
Dodgy Dossier Cases continue to bear evidentiary fruit and have generally been
proceeding well in federal courts including the U.S. District Courts for the Southern
District ofl\lew York (“S.D.N.Y.”), the District ofColumbia (“D.D.C.”) and the Southern

District of Florida (S.D. Fla.”).

C. Steps to Mitigate Life-Tllreatening Risks and Other Damages

39. Amidst unrelenting malicious attacks by the Defendants and since the
Plaintiffdid not qualify for U .S. Secret Service protection, Dr. Page agreed to interviews

with various media outlets in the interest of setting the record straight regarding the

 

65 Ken Bensinger1 l\/liriam Elder and Mark School"s, “rl`hese Reports Allegc Trump Has Deep

Ties To Russia,” BuzzFeed News, lanuary 10, 2017.
https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-has-deep-ties-to-russia

67 Among Others, see: Utrbarev et al v. Buzzfeect', lnc. el al', l7-cv-60426 (S.D. Fla., Feb. 28,
2017); Frz'dman el al v. Becm LLC el crl, l7-cv-02041 (D.D.C., Oct. 3, 2017); Becm LLC cf/b/o
Fusion GPS v. Defendant chk and Permcmenl Selecl Committee on Intelligence l7-cv-02137
(D.D.C., Oct. 20, 2017). ln addition, one case has been withdrawn due to personal circumstance
related to the Plaintiff in that civil action1 Cohen v Becni LLC el ci[, 18-cv-00183 (S.D.N.Y., _lan.
9, 2018).

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defamatory statements by the Defendants and in an attempt to limit further damages from
the Yahoo Report and other malicious false stories that stemmed from the misinformation
provided by the Defendants ln addition to the severe harm to the Plaintiff, as a patriotic
American veteran Dr. Page was also motivated in the interest of`helping to repair some of
the severe damage to the U.S. that the Defendants helped facilitate including the Witch
Hunt against Dr. Page. I*Iis related media appearances included interviews with PBS"Q,
CNN“)“, MSNBC'O‘, Fox News“’z, ABC News'03, and others Due to severe damage for
the Plaintil"f created by the Del"endants’ reckless disregard for the truth in their attempt to
spread false information that directly led to the Yahoo Report, the resulting death threats

and associated damage suffered by Dr. Page continued following these appearances

D. Congressional Rcvclations: Conspiracv between Defendants and U.S.
Government

40. On September 14, 2017, Dr. Page filed a pro se defamation civil action in
the U.S. District Court for the Southern District ofNew York against the publisher of the
defamatory reports.115 Approximately 40 days later, the Washington Post reported the
underlying source of these false allegations:

"'l`he Hil]ary Clinton campaign and the Democratic National Committee helped
fund research-that resulted in a now-famous dossier containing allegations about

 

90 https://www.voutube.com/watch?v=bsgS1852Ge1\/1

lou https://www.youtube.com/watch?v=$ZZeZ7s-3OS

'O] http://www.msnbc.com/al1~in/watch/carter-paae-i-don-t-denv-meetina-with-russian-
ambassador-88904301 l 736

m httt)://video.foxnews.com/v/5379272731001/

m3 httD://abcnews.ao.com/Politics/trump-associate-denies-middle-man-russia/storv

Carter Page v. Oath lnc. and Broadcasting Board ol`Governors, September 14, 2017. 17-
cv-6990-LGS.

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President Trump’s connections to Russia and possible coordination between his
campaign and the Kremlin. .. l\/larc E. Elias, a lawyer representing the Clinton
campaign and the DNC, retained Fusion GPSJ a Washington tirm, to conduct the
research.”116

41. ln February 2018, the U.S. House Permanent Select Committee on
Intelligence (“HPSCI”) released a memorandum"7 [“HPSCI l\/lemo”] disclosed
information that further exposed alleged illicit activities by the Defendants including Mr.
Elias. ln particular, the abuse ofprocess in another federal court was included in the
introductory summary ol` the implications of l-ll’SCl’s findings: “l) raise concerns with
the legitimacy and legality of certain DOJ and FBl interactions with the Foreign
Intelligence Surveillance Court (FISC), and (2) represent a troubling breakdown of legal
processes established to protect the American people from abuses related to the FISA
process.”

42. Relevant conclusions of the HPSCI Memo are briefly summarized below:

“The Carter Page FISA application also cited extensively a September 23, 2016,

Yahoo News article by Michael lsikof'f, which focuses on Page’s July 2016 trip to

Moscow. 'Ihis article does not corroborate the Steele dossier because it is derived

from information leaked by Steele himself to Yahoo News. The Page FISA

application incorrectly assesses that Steele did not directly provide information to

Yahoo News_ 'l`he Page FISA application incorrectly assesses that Steele did not

directly provide information to Yahoo News. Steele has admitted in British court

filings that he met with Yahoo News - and several other outlets - in September

2016 at the direction ofFusion GPS. Perkins Coie was aware of Steele’s initial

media contacts because they hosted at least one meeting in Washington D.C.
in 2016 With Stecle and Fusion GPS Where this matter was discussed..."

 

'l(’ Adam Entous, Devlin Barrett, and Rosalind S. l-Ielderman, “Clinton campaign, DNC paid
for research that led to Russia dossier,” Wo.rhr'ngfon Post, October 25, 2017. p. Al.
httos:/‘/www.washingtenpost.com/world/national-securitv/clinton-campaign-dnc-paid-for-
research-that-led-to-russia-d ossier/201 7/10/24/226tabe-b8e4-l le'/'-a908~

a3470754bbb9 storv.html

"7 https://inte|ligence.house.gov/uploadedfiles/memo and white house letter.pdf

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[Emphasis added.]

43. Former FBI general counsel James Baker has allegedly “admitted to
Congrcss in an unclassified setting j repeat, in an unclassilied setting _ that he had met
with a top lawyer at the firm representing the Democratic l\lational Committee (DNC)

[Perkins Coie] and received allegations from that lawyer about Russia, Trump and

POSsible hacking_”l 18

44. Further media outlets have recently alleged in early October 2018 that:

“James Baker, who served as FBI’s general counsel until he resigned in May,
testified to Congrcss on Wednesday that Miehael Sussmann, a lawyer for the
firm Perkins Coie, provided documents and electronic media related to
Russian meddling in the election. Perkins Coie is the firm that hired opposition
researcher Fusion Gl’S to investigate Trump- The result of the contract was the
infamous but unverilied Steele dossier alleging collusion between the Trump
campaign and Russian government Sources familiar with Baker’s testimony to
the House .}udiciary and House Oversight & Government Reform
Committees tell The Daily Caller News Foundation that he said Sussmann
approached him for the meeting, which occurred in‘late summer or early fall
2016.”l 19

[Emphasis added.l

45. The former Acting Chair of Defendant DNC has also alleged that a meeting
occurred at FBl headquarters on August l l, 2016 involving a representative ofDel"endant

Perkins Coie, the Defendant Michael Sussmann1 and staffol` Defendant DNC: “When

 

113 John Solomon, “FBl’s smoking gun: Redactions protected political embarrassment, not

‘national security’,” The Hil/, October 7, 2018. https://thehill.com/opinion/white-houseM10287-
fbis-smoking-gun-reclactions~r)rotected-political-embarrassment-not `
119 Chuck Ross, “Top FBI Ol`licial Met with DNC Lawyer on Russia Prior to 20 | 6 Election,”

Daily Caller, October 4, 20 | 8. https://dailyca|ler.com/2018/10/04/fbi-dnc-lawyer-russia-2016-
€l€C_IiOn/

 

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Michael Sussmann arrived, he took out his security clearance badge, likely left over from

his time at the Department of Justice. I was impressed . .”12°

E. Corporate Policies and Procedu res

46. Dr. Page is the sole shareholder of GNGV. Given GNGV’s businesses
focus on working with corporations and financial institutions as a trusted advisor and
partner, their Oklahoma Limited Liability Company’s reputation for providing services
has been carefully cultivated and is paramount to the success of the business

47. Similarly, prior to the Defendants’ distribution of life-threatening
defamatory allegations and related misinformation, Dr. Page’s own professional
reputation had remained untarnished and key to his ability to building GEC as an
international financial institution As a direct result of the false information spread by the
Defendants, Dr. Page’s business interests at GNGV and GEC suffered, and will continue
to suffer, actual injury as a result of injury to its corporate reputation At least three banks
and diversified financial services companies have declined to do business with GEC and
GNVG based on the defamatory Statements published by the Defendants and, on

information and belief, the defamatory statements have also cost GNGV clients.

F. Perkins Coie and the DNC Should Not Prof“rt at Dr. Page’s Significant Expense

 

'2° Donna Brazile, Hacks: The Insr`de Story of the Breok-ins and Breaka'owns That Put Donald

Trump in the White House, New York: l-Iachette, 2017, p. 66.

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48. The DNC and Perkins Coie are the primary responsible actors that must be
held to account and should accept full economic responsibility for the falsehoods spread
4 to the media in the Yahoo Report and countless others defamatory articles that targeted
the Plaintiff. Both financially and politically, the Defendants benefited from their false
allegations while simultaneously creating or perpetuating terrorist threats aimed at Dr.
Page.

49. The DNC, Perkins Coie and its contractors knew that the defamatory
statements they distributed about Dr. Page would eventually be viewed by millions of
people. The Defendants and their consultants also knew that their defamatory allegations
would be forwarded or republished by political operatives it was supporting including
their political candidate’s campaign, U.S. Government actors, numerous other news
outlets and Websites. This was readily apparent because of the horrific conduct that the
Defendants ascribed to Dr. Page, in connection with one of the most prominent news
stories in the U.S. over recent years.

50. As a direct and proximate result of the Defendants’ malicious misconduct,
Dr. Page suffered anguish, humiliation, embarrassment and severe damage to his
reputation - all of which are continuing in nature and will be suffered in the future.

51. As a direct and proximate result of the Defendants’ intentional and
malicious misconduct, Perkins Coie reaped ill-gotten gains from the fees paid to them by
DNC. According to filings reported by the New York Times, Perkins Coie was paid $12.4

million to represent the DNC and the Presidential campaign they were supporting during

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the 2016 election. m Under the unique and special circumstances of this case, those
profits should be disgorged.

52. Perkins Coie should not be permitted to profit from the vast portfolio of
defamatory articles printed about Dr. Page with malice and with the knowledge that the
falsehoods first originating from the Defendants in 2016 through their defamatory and

life-threatening misstatements to a wide array of media outlets.

V. Callses of Action

COUNT 1: Defamation and Defamation Pcr Se Against All Defendants
(Ol<lahoma Statutes, Title 21 §§ 771-781)

53. Plaintiffre-alleges and re-asserts by reference the allegations set forth in all
prior paragraphs of this Complaint as if fully set forth herein

54_ Defendants DNC and Perkins Coie, by and through their representatives
published or caused to be published false and defamatory statements concerning the
Plainti'l`f without privilege to do so.

55. The false and defamatory statements included, but are not limited to,
allegations that Dr. Page may have committed crimes, and/or supported cyberattacks that

preceded the 2016 U.S. l’residential election.

 

'22 Kerilietli P. Vogel, "Clinton Campaign and Democratic Party Helped Pay for Russia Trump

Dossier;” New York Tr`nie.r, October 24, 2017.
httos://www.nvtimes.com/20l7/10/24/us/polltics/clinton-dnc-russia-dossier.html

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56. The defamatory information was distributed by the Defendants and
eventually published by third-party media organization without privilege to the general
public, including millions of people.

57. The defamatory statements were made negligently; without reasonable care
as to their truth or f"alsity; with knowledge of their falsity; and/or with reckless disregard
for the truth.

58. The completely unverified and highly suspect statements are of the kind
that the Defendants knew would tend to prejudice the Plaintiff in the eyes ofa substantial
and respectable minority ofhis community

59. 'l`he statements have caused, and will continue to cause, the Plaintiff injury
in his personal, socialj and business relations

60. Dr. Page has sufl`ered, and will continue to suffer, actual injury as a result
of the injury to his personal reputation

61. The defamatory statements tend to injure the Plaintiff in his business trade
as the allegations call into question the trustworthiness of the Plaintiff. Additionally, the
above statements subject Plaintiff to distrust, scorn, ridicule, hatred, contempt and death
threats. As such, the defamatory statements constitute defamation per se.

62. In addition, as a direct and proximate result of the defamatory statements
made by Def`endants, Plaintiff has suf`fered, and continue to suffer, substantial damages

63. lt is clear from the information distributed by the Defendants’ and their
consultants, that they had actual knowledge of the wrongfulness of their conduct and the

high probability that injury or damage to the Plaintiffs would result. Despite that

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knowledge, the Defendants intentionally pursued their course of conduct, resulting in

enormous injury and damage to the Plaintiff.

COUNT 2: Acts of Terrorism Transcending National Boundaries Against All
Defendants
(18 U.S. Code § 2332b)

64. Plaintiff re-alleges and re-asserts by reference the allegations set forth in all

prior paragraphs of this Complaint as if fully set forth herein.

65. The defamatory statements by the DNC and Perkins Coie’s consultants
created a substantial risk of serious bodily injury to Dr. Page by attempting or conspiring
to destroy or damage Dr. Page’s personal property within the United States, including but
not limited to Dr. Page’s reputation, relationships and physical belongings

66. The defamatory statements obstructed, delayed, or affected Dr. Page’s
prospective interstate or foreign commerce

67. The defamatory statements involve acts dangerous to human life that are a
violation of the laws of the United States and Oklahoma.

68. The statements appear to be intended to intimidate or coerce the civilian
population of the United States and foreign countries

69. The continued publication of the defamatory statements beginning on or
about January 20, 2017, appear to be intended to'influence the policy of a government by

intimidation or coercion.

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70. The defamatory statements occurred primarily within the territorial
jurisdiction of the United States but were further distributed by the media across Europe
and worldwide.

71. The defamatory statements demonstrate a reckless disregard for the risk of

causing such terror or inconvenience

COUNT 3: Financing of Terrorism Against All Defendants
l (18 U.S. Code § 2339C)

72. Plaintiff re-alleges and re-asserts by reference the allegations set forth in all
prior paragraphs of this Complaint as if fully set forth herein.

73. The DNC and Perkins Coie directly or indirectly, unlawfully and willfully
provided funds to their consultants with the intention that such funds be used, or with the
knowledge that such funds are to in part be used in order to carry out the distribution of
defamatory information, intended to create personal damages that may include the risk of
death or serious bodily injury to Dr. Page.

74. As an American military veteran who has spent much of the last twenty
years of his life working to establish peace in his community and in the world through the
empowerment of individuals and non-hostile commercial enterprises, Dr. Page is a
person who has not taken any active part in hostilities in any situation of armed conflict at
any time since his honorable discharge from the U.S. Navy in 1998.

7 5. The DNC and Perkins Coie’s purpose of funding activities that further

enabled a plethora of false media reports, by its nature or context, Was to intimidate the

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population of U.S. voters and other members of their audience prior to as well as after the
2016 election with fears related to_ the Witch Hunt, and/or to compel the Russian
Government to do or to abstain from doing alleged acts related to cyberattacks that Dr.
Page no part in and had no advance knowledge of.

76. Funds from the DNC and Perkins Coie were actually used by their
consultants to create and distribute false allegations that helped inspire multiple threats to
Dr. Page’s life, in conjunction with other publications by non-state actors in the form of
private United States media outlets including Yahoo News that concurrently distributed

the false allegations further via the internet and other media forms.

COUNT 4: Tortious Interference Against All Defendants
(Restatement (Second) of Torts § 766A; and Oklahoma Statute, Title 23 § 9.1 (2001))

77. Plaintiff're-alleges and re-asserts by reference the allegations set forth in all
prior paragraphs of this Complaint as if fully set forth herein.

78. Dr. Page had existing and prospective business relationships with energy
companies and financial institutions These business relationships were well-established
as Dr. Page’s experience in energy finance transactions had been developed over 10
years. Dr. Page’s relationships included, but were not limited to, the following energy
companies: Samruk Kazyna, Chesapeake Energy, KazMunayGas, Tatneft, and Gazprom.
Dr. Page’s relationships included, but were not limited to, the following financial

institutions: Deutsche 'Bank, Goldman Sachs, Citi, Mubadala Development Company,

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China Investment Corporation, Canaccord Genuity, HSBC, Piper Jaffray Companies,
Ladenburg Thahnan, Morgan Stanley and others.

79. The Defendants, their associates and/or their consultants knew that Dr.
Page had business relationships with international energy companies and financial
institutions as indicated in false statements by their consultants about his relationship
with Rosneft. The Defendants via their consultants and political associates then
intentionally and unjustifiany interfered with Dr. Page’s existing and prospective
business relationships with energy companies.

80. First, the Defendants engaged in a disinformation campaign during its
distribution of false information to news agencies before and after the Yahoo Report,
with actual malice where they falsely stated and/or implied that Dr. Page may have
engaged in efforts to disrupt the 2016 U.S. Presidential Election on behalf of the Russian
Government. This disinformation campaign created a client, investor and financing
backlash against Dr. Page, GNGV, GEC and associated business partners, and against
those companies with which Dr. Page maintained relationships including Samruk Kazyna
and Gazprom as well as associated subsidiaaries. This all directly stemmed from the
false, defamatory information that the Defendants continued to provide to the media for
publication and broadcast

81. Second, the Defendants contributed to the incitement of a so-called
“resistance” movement related in part to the Witch Hunt that started in September 2016
with Dr. Page as the central specific intended target, forcing Dr. Page and GEC to stop

pursuing business opportunities based on consumer concern.

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82. Third, the Defendants held primary responsibility for false or misleading
information that incited a Witch Hunt against Dr. Page and other members of the Trump
Movement in an effort to achieve political objectives in the case of DNC and increase
firm profits in the case ofPerkins Coie. Working on behalf of the DNC and their
political candidates, representatives of Perkins Coie provided an essential linchpin in
advancing that harmful process.

83. As a direct result of the Defendants’ tortious interference with Dr. Page’s
existing and prospective business relationships, Dr. Page has suffered actual and

consequential damages in an amount that will be proven at trial.

C()UNT 5: RICO against All Defendants
(18 U.S.C. §§ 1962(€))

84. Plaintiff re-alleges and re-asserts by reference the allegations set forth in all prior
paragraphs of this Complaint as if fully set forth herein.

85. Defendants are all “persons” within the meaning of 18 U.S. Code § 1961(3). At
all relevant times, Defendants conducted the affairs of an Enterprise - which affected interstate
and foreign commerce 4 through a pattern of racketeering activity, in violation of 18 U.S. Code §
1962(0).

86. The DNC was a Racketeering Enterprise, as that term is used in 18 U.S. Code §
1961 (4). The Enterprise was formed in approximately Apri12016 with the hiring of its
opposition research team.

87. The DNC and its candidates had an ongoing organizational framework for

carrying out its objectives

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88. Because the Defendants expended millions of dollars on the opposition research
campaign that attacked Dr. Page and other members of the Trump Movement during the 2016
presidential race, it affected interstate and foreign commerce.

89. Each Defendant conducted and/or participated in the affairs of the Enterprise

through a pattern of racketeering activity, including acts indictable under 18 U.S. Code § 1831
(economic espionage), 18 U.S. Code § 1832 (theft of trade secrets), and 18 U.S. Code § 1503
(relating to obstruction ofjustice [involving the U.S. Foreign Intelligence Surveillance Court]).
The DNC allegedly directed, induced, urged and/or encouraged the FBI and other elements of
the U.S. Government to engage in this conduct and/or provide the media with defamatory
information, with the expectation that the U.S. Government and the media would disseminate
this false information and thereby increase the DNC’s chance of winning the U.S. Presidential
election.

90. Alternatively, and at the very least, the DNC was part of an Association-in-Fact
Enterprise comprising element of the U.S. Intelligence Community including the FBI, their
employees and agents, and additional entities and individuals known and heretofore unknown.
The Association~In-Fact Enterprise was formed by at least Apri12016. From that time until at
least November 2016, the members of the Association-ln-Fact Enterprise worked together to
further their mutual goals ofimproving the DNC’s electoral prospects and damaging Dr. Page as
a primary opposition research target who supported the Trump Movement.

91. The Association-In-Fact Enterprise had an ongoing organizational framework
for carrying out its objectives. In fact, the Association-ln-F act Enterprise could not have carried

out its intricate task of sharing defamatory information at the moments when it would be most

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beneficial to DNC interests unless it had some structure for making and communicating group
decision as Members of Congrcss have continued to investigate in 2018.

92. As described above, each Defendant participated in the operation or management
of the Association-In-F act Enterprise, and benefited from the enterprise

93. Because the Association-ln-Fact Enterprise’s activities affected electoral spending
in 2016, as well as the media response to the 2016 presidential race and the related Witch Hunt,
it affected interstate and foreign commerce

94. Each Defendant conducted and/or participated in the affairs of the DNC, its
associated campaigns and the Association-ln-F act Enterprise through a pattern of racketeering
activity, including acts indictable under 18 U.S. Code § 1831 (economic espionage), 18 U.S.
1 Code § 1832 (thelt of trade secrets), and 18 U.S. Code § 1503 (relating to obstruction of justice
[involving the U.S. Foreign Intelligence Surveillance Court]). The DNC allegedly directed,
induced, urged and/or encouraged the FBl and other elements of the U.S. Government to engage
in this conduct and/or provide the media with defamatory information, with the expectation that
the U.S. Government and the media would disseminate this false information and thereby
increase the DNC’s chance of winning the U.S. Presidential election,

95. Beginning on or aiier October 21, 2016, the United States took trade secrets from
Dr. Page at the request of the Defendants, their political associates and consultants without Dr.
` Page’s authorization, intending or knowing that doing so would benefit the DNC, DNC
candidates, the Defendants and/or associates

96. The United States also allegedly copied, duplicated, downloaded, uploaded,
altered, replicated, transmitted, delivered, sent, communicated, or conveyed Plaintiff`s trade

secrets, intending or knowing that doing so would benefit the DNC, Perkins Coie, their political

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allies or consultants, in furtherance of the illegal scheme Based in part upon the requests of and
false information provided by the Defendants, their political allies, and consultants, unauthorized
acts of economic espionage continued ii'om approximately October 2016 through September
2017.

97. Representatives of the Defendants also communicated false information to the
U.S. Government and the media regarding Dr. Page intending or knowing that doing so would
benefit the DNC, Perkins Coie or their associates, in furtherance of the illegal scheme

98. The DNC, Perkins Coie, their political associates and consultants furthered the
common goals of the Enterprise by proffering false information that would enable the predicate
acts and further the scheme and by remaining in frequent contact with U.S. Government officials
and advising, instructing and providing the other Defendant and their employees with false
information; encouraging continued illegal hacking which their misinformation campaign
enabled; actively encouraging illegal disclosure to bolster DNC interests; and actively working to
allegedly conceal and cover up the scheme through false statements to U.S. Government officials
and the media.

99. Plaintiff has been injured in his business and property by Defendants’ violation of
18 U.S.Code § 1962(c). Defendants caused enormous harm to Plaintiff’s business, as described

above Most of these primary injuries occurred within the United States.

COUNT 6: RlCO Conspiracv against All Defendants
118 U.S.C. §§ 1962(!!)[

100. Plaintiff re-alleges and re-asserts by reference the allegations set forth in all

prior paragraphs of this Complaint as if fully set forth herein.

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101. Defendants conspired with each other and members of the media to violate
18 U.S.C. §1962(0). Defendants knowingly agreed, combined, and conspired to conduct
the affairs of the Enterprise of the Association-in-Fact Enterprise to inflict a cyber-
espionage operation on the Plaintiff as illegitimater authorized by the U.S. Foreign
Intelligence Surveillance Court based on the defamatory information proferred by the
Defendants. Each Defendant agreed that the operation would involve repeated violations
of 18 U.S.C. §1831 (economic espionage); and 18 U.S.C. §1832 (theft of trade secrets).

102. The Defendants’ conspiracy to violate 18 U.S.C. §l962(c) violated
§1962(d).

103. Plaintiff has been injured in his business or property by the Defendants’
violation of 18 U.S.C. §1962(0). Defendants caused enormous harm to Plaintiff’s

_ business, as described above Most of these injuries occurred within the United States.

Vl. PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Carter Page, demands judgment against Defendants DNC,

Perkins Coi_e LLP, Mr. Elias and Mr. Sussmann, as follows:

i. F or an award of compensatory, special and punitive damages in amounts to be
established at trial and in excess of seventy-five thousand dollars ($75,000.00) in
accordance with proof at trial together with interest thereon at the maximum

legal rate; and Plaintiff reserve the right to seek leave of court to seek punitive

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damages against Defendants in accordance with the facts and claims stated
herein and established through discovery;

ii. For costs of suit incurred herein; and

iii. For such other and further relief as to this Court may deem just and proper to

protect Plaintiff’s rights and interests.

Vl|. DEMAND FOR JURY TRIAL

Plaintiff hereby demand a trial by jury on all issues so triable Respectfully submitted this

15th day of October, 2018 by:

The Plaintiff,
By: /s/ Carter Page
Carter Page

c/o Global Natural Gas Ventures LLC
101 Park Ave., Suite 1300

okiahoma Ciiy, oK 73102

Phone (405) 825-0172

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